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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

* * * * * * * * * * * * * * * * * * * * **
EILEEN GOESCHEL,                         *           No. 13-199V
                                         *           Special Master Christian J. Moran
                    Petitioner,          *
                                         *           Filed: April 9, 2014
v.                                       *
                                         *           Stipulation; influenza ("flu") vaccine;
SECRETARY OF HEALTH                      *           Guillain-Barré Syndrome (“GBS”).
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * * **

Danielle A. Strait, Maglio, Christopher & Toale, PA, for Petitioner;
Claudia B. Gangi, U.S. Department of Justice, Washington, D.C., for Respondent.

                              UNPUBLISHED DECISION1

       On April 8, 2014, respondent filed a joint stipulation concerning the petition
for compensation filed by Eileen Goeschel on March 19, 2013. In her petition,
petitioner alleged that the influenza (“flu”) vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which she received
on November 29, 2011, caused her to suffer Guillain-Barré Syndrome (“GBS”).
Petitioner further represents that there has been no prior award or settlement of a
civil action for damages on her behalf as a result of her condition.

       Respondent denies that the flu vaccine caused petitioner's alleged GBS, any
other injury, or her current disabilities.



       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages and attorneys’ fees and costs, on the
terms set forth therein.

       Damages and attorneys’ fees and costs awarded in that stipulation include:

       a) A lump sum of $150,000.00 in the form of a check payable to
          petitioner. This amount represents compensation for all damages
          that would be available under 42 U.S.C. § 300aa-l 5(a);

       b) A lump sum of $106.04 in the form of a check payable to petitioner,
          Eileen Goeschel. This amount represents compensation for out-of-
          pocket expenses incurred by petitioner in proceeding on the petition;

       c) A Jump sum of $24,921.60 in the form of a check jointly payable to
          petitioner and petitioner's attorney, Danielle A. Strait, of the law
          firm Maglio Christopher & Toale, PA, for attorneys' fees and costs
          available under 42 U.S.C. § 300aa-15(e).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 13-199V according to this decision
and the attached stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


                                                       )
EILEEN GOESCHEL,                                       )
                                                       )
                        Petitioner,                    )
                                                       )      No. 13-199V
v.                                                     )      Special Master Moran
                                                       )      ECF
SECRETARY OF HEALTH AND                                )
HUMAN SERVICES,                                        )
                                                       )
                       Respondent.                     )



                                          STIPULATION

        The parties hereby stipulate to the fo llowing matters:

        1. Eileen Goeschel, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the influenza ("flu") vaccine, which is contained in the Vaccine Injury Table (the "Table"), 42

C.F.R. § I 00.3 (a).

       2. Petitioner receivt:d her flu immunization on November 29, 201 I .

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that the flu vaccine caused her alleged Guillain-Barre Syndrome

("OBS").

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.


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        6. Respondent denies tbat the flu vaccine caused petitioner's alleged OBS, any other

injury, or her current disabilities.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered award ing the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has fli ed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), lhe Secretary of Health and Human Services will issue

the foUowing vaccine compensation payments:

         a.      A lump sum of $150,000.00 in the form of a check payable to pelitioner. This
         amount represents compensation for all damages that would be avai lable under 42
         U.S.C. § 300aa-l 5(a);

         b.     A lump sum of $106.04 in the form of a check payable to petitioner. This
         amount represents compensation for out-of-pocket expenses incurred by petitioner in
         proceeding on the petition; and

         c.     A Jump sum of$24,92I.60 in the form of a check jointly payable to petitioner
         and petitioner's attorney, Danielle A. Strait, MAGLIO CHRISTOPHER & TOALE,
         PA, for attorneys' fees and costs available under 42 U.S.C. § 300aa-15(e).

        9. Petitioner and her attorney represent that compensation to be provided pursuant to this

Stipulation is not for aryy items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa- l 5(g), to the extent that payment has been made or can reasonably be expected to

be made t!nder any State compensation programs, in.surance policies, Federnl or State health

benefits programs (other than Title XlX of the Social Security Act (42 U.S.C. § 1396 et seq.)), or

by entities that provide health services on a pre-paid basis.




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         l 0. Payments made pursuant to paragraph 8 of this Stipulation will be made in

 accordance with 42 U:S.C. § 300aa-15(i), subject to the availability of sufficient statutory funds.

         11. The parties and their attorneys further agree and stipulate that, except for any award

 of attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

 pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

 strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

 § 300aa- I5(g) and (h).

         12. In return for the payments described in paragraph 8, petitioner, in her individual

 capacity and on behalf of her heirs, executors, administrators, successors or assigns, does forever

 irrevocably and unconditionally release, acquit and discharge the United States and the Secretary

of Health and Human Services from any and all actions or causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, o·r

al leged to have resulted from, the flu vaccination administered on November 29, 20 11, as alleged

by petitioner in a petition for vaccine compensation filed on or about March 19, 20 13, in the

United Stutes Court of Federal Claims as petition No. 13-199V.

        13. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        14. If the spec\al master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Cowt of Federal Clnims fails lo i.:nter judgment in conformity with a
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    decision that is in complete conformity with the terms of this Stipulation, then the parties'

    settlement and this Stipulation shall be voidable at the sole discretion of either party.

            15. This Stipulation expresses a ful l and complete negotiated settlement of liability and

    damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended. There

    is absolutely no agreement on the part of the parties hereto lo make any payment or to do any act

    or thing other than is herein expressly stated and clearly agreed to. The parties further agree and

    understand that the award described in this Stipulation may reflects a compromise of the patiies'

    respective positions as to liability and/or amount of damages, and further, that a change in the

    nature of the injury or condition or in the items of compensation sought, is not grounds to modify

    or revise this agreement.

           16. This Stipulation shall not be constrned as an admission by the United States or the

Secretary of Health and Human Services that flu vaccine caused petitioner's alleged GBS, nny

other injury, or her current disabilities.

           17. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                         END OF STIPULATION

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                Respectfully submitted,




               g~~
               EILEEN GOESCHEL




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              HUMAN SE,A'tlr/nr_c:




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